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                         IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

LINDSEY HUFF, AND CHRIS HUFF,                                                     PLAINTIFFS

v.                               Case No. 4:19CV00337 - BRW

ALLSTATE PROPERTY AND
CASUALTY INSURANCE COMPANY,                                                      DEFENDANT

                              INITIAL SCHEDULING ORDER


       Pursuant to the initial appearance entered by defendant(s) in this case on May 8, 2019

the following deadlines and proposals are in effect:

(1) Rule 26(f) Conference Deadline:                            July 16, 2019

       The parties are jointly responsible for holding their Rule 26(f) conference on or before the

date specified.

(2) Rule 26(f) Report Due Date:                                July 30, 2019

       Consult FRCP 26(f) and Local Rule 26.1 for information to be included in the Rule 26(f)

Report. The Report should be filed with the Clerk of the Court.

(3) Proposed Trial Date:                                       May 12, 2020
                                                               Richard Sheppard Arnold United
                                                               States Courthouse, Courtroom
                                                               #A401, 500 West Capitol, Little
                                                               Rock, Arkansas 72201


(4) Rule 16(b) Conference (if needed):                       August 6, 2019


       A telephone conference, at the request of the parties, will be held August 6, 2019, if

needed, to resolve any conflicts among the parties with deadlines, the proposed trial date,

mandatory disclosures, etc. If the parties can agree on all issues in the Rule 26(f) Report and the
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trial date proposed by the Court, then the telephone conference scheduled for August 6, 2019 will

be unnecessary.

(5) Final Scheduling Order:                                     August 13, 2019

       A Final Scheduling Order will be issued on or before August 13, 2019, confirming the

trial date of May 12, 2020, setting directions, and resolving any disputes taken up at the

telephone conference.

       If the parties want a Protective Order entered, they must first contact the law clerk

assigned to the case.

       It will be the responsibility of the plaintiff to serve a copy of the Initial Scheduling Order

on any defendant who makes an appearance after the Initial Scheduling Order has been filed.

       It will be the responsibility of the party filing a new claim after the date of the Initial

Scheduling Order to immediately serve a copy of the Initial Scheduling Order on new defendant(s).

       The Pine Bluff and Batesville courthouses have been closed. Accordingly, cases filed in

the Pine Bluff and Northern Divisions will be tried in Little Rock before a jury selected from the

registered voters of the division in which the case was filed. If the parties wish to try the case

within a closed division, then the parties must include in their Rule 26(f) report the reason, and

propose an alternate facility within the closed division where the parties agree to try the case and

which does not add any expense to the federal judiciary.



       IT IS SO ORDERED Thursday, May 9, 2019.

                                                      AT THE DIRECTION OF THE COURT

                                                               Melanie Beard
                                                               Courtroom Deputy
